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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   BRIAN W. ENOS
     Assistant United States Attorney
 3   United States Courthouse
     2500 Tulare Street, Suite 4401
 4   Fresno, California 93721
     Telephone: (559) 497-4000
 5   Facsimile: (559) 497-4099
 6   Attorneys for United States of America
 7
 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,         )       1:10-cr-00361 LJO
11                                     )
                     Plaintiff,        )       STIPULATION TO VACATE STATUS
12                                     )       CONFERENCE AND SET AUGUST 19,
                                       )       2011 TRIAL CONFIRMATION
13        v.                           )       HEARING; ORDER
                                       )
14                                     )       Date: N/A
     TERRY LEE SCHNEIDER II and        )       Time: N/A
15   NICOLE JEAN SCHNEIDER,            )       Ctrm: 4
                                       )           Hon. Lawrence J. O’Neill
16                   Defendants.       )
                                       )
17
18        IT IS HEREBY STIPULATED by and between the parties hereto,
19   through their respective attorneys of record, that the status
20   conference presently set for Thursday, July 28, 2011 be vacated,
21   and a trial confirmation hearing be set to take place on Friday,
22   August 19, 2011 at 9:00 a.m.
23        By way of brief background, on June 30, 2011 the parties
24   stipulated to (1) continue this case’s trial date from August 29,
25   2011 to October 3, 2011, as well as (2) set a preceding status
26   conference on July 29, 2011.      Within that stipulation, the
27   parties stated that they would “address the re-scheduling of the
28   trial confirmation hearing as well as the status of any efforts

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 1   to resolve the case” at the July 29, 2011 status conference.
 2   Doc. 23, at 1:23-25.
 3        On July 5, 2011, the court found the stipulation to be
 4   supported by good cause and endorsed it by way of formal order.
 5   Doc. 24.   On July 12, 2011, the court issued a minute order
 6   advancing the Friday, July 29, 2011 status conference to
 7   Thursday, July 28, 2011.     Doc. 25.
 8        Since the issuance of the above scheduling orders, the
 9   parties have continued to confer about the case, including both
10   counsel availability regarding a trial confirmation hearing as
11   well as issues bearing on this case’s resolution.          As a result,
12   the matters the parties expected to raise at the July 28, 2011
13   status conference have been addressed.        Accordingly, the parties
14   stipulate to vacating the presently-scheduled July 28, 2011
15   status conference, and setting a trial confirmation hearing to
16   take place within the court’s 9:00 a.m. calendar on Friday,
17   August 19, 2011.
18        The parties’ stipulation is based on good cause and
19   expedites this case by rendering the status conference
20   unnecessary.   Specifically, counsel for the government is in the
21   process of preparing draft plea agreements for internal approval
22   and ultimate distribution, and will distribute draft agreements
23   to each defendant in time for all parties to be able to advise
24   the court by August 19, 2011 whether either or both defendants
25   will be changing their pleas (counsel for the government expects
26   to have agreements distributed to respective defense counsel
27   within a week).    In addition, and assuming this case is
28   ultimately tried, counsel for all parties have determined that

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 1   they are available to appear at a trial confirmation hearing on
 2   August 19, 2011.
 3            For the above-stated reasons, a vacated July 28, 2011 status
 4   conference and stipulated August 19, 2011 trial confirmation
 5   hearing will conserve time and resources for both parties and the
 6   court.      Any delay resulting from this continuance shall be
 7   excluded in the interests of justice, and the ends of justice in
 8   endorsing this stipulation through formal order outweigh the
 9   interests of defendants and the public in a speedy trial.                 See 18
10   U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(ii).
11                                        BENJAMIN B. WAGNER
                                          United States Attorney
12
13   Dated: July 20, 2011             By:_/s/ Brian W. Enos__________
                                         BRIAN W. ENOS
14                                       Assistant U.S. Attorney
15
                                          (As auth. 7/20/11)
16
     Dated: July 20, 2011                  /s/ Marc J. Days
17                                        MARC J. DAYS
                                          Attorney for Defendant
18                                        Terry Lee Schneider II
19                                        (As auth. 7/20/11)

20   Dated: July 20, 2011                  /s/ Carl M. Faller
                                          CARL M. FALLER
21                                        Attorney for Defendant
                                          Nicole Jean Schneider
22
23                                         ORDER
24
     IT IS SO ORDERED.
25
     Dated:     July 20, 2011                /s/ Lawrence J. O'Neill
26   b9ed48                              UNITED STATES DISTRICT JUDGE
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         STIPULATION TO VACATE STATUS CONFERENCE AND SET AUGUST 19, 2011 TRIAL
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